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                           UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
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 11   BENIGNO MEDINA MONDACA,                  )   Case No.: 5:20-cv-01399-MAR
                                               )
 12                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                               )   EQUAL ACCESS TO JUSTICE ACT
 13         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 14   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social            )   U.S.C. § 1920
 15   Security,                                )
                                               )
 16                Defendant                   )
                                               )
 17
 18         Based upon the parties’ Stipulation for the Award and Payment of Equal
 19   Access to Justice Act Fees, Costs, and Expenses:
 20         IT IS ORDERED that fees and expenses in the amount of $4,500.00 as
 21   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 22   awarded subject to the terms of the Stipulation.
 23   DATE: 10/05/21
 24                             ___________________________________
                                ___________________
                                  _
                                                 M
                                THE HONORABLE MARGO      A. ROCCONI
 25                             UNITED STATES MAGISTRATE JUDGE
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  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Young Cho
      _________________________
  4   Young Cho
      Attorney for plaintiff Benigno Medina Mondaca
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